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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-029
                                                 §
                                                 §
SUZANNE VOELKER, et al.                          §

                                          ORDER

       The government filed a motion to certify the case as complex and a request for an

amended scheduling and docket control order. (Docket Entry No. 205). The motion to

certify as a complex case is GRANTED. The court also finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The docket control order is amended as follows:

       Motions to be filed by:                       April 30, 2010
       Responses to be filed by:                     May 14, 2010
       Pretrial conference is reset to:              May 19, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        May 24, 2010, at 9:00 a.m.


              SIGNED on December 9, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
